Case 2:23-cv-02000-WSS   Document 11-16   Filed 11/20/23   Page 1 of 10




             EXHIBIT P
         Mesiti Declaration
Infringing Product Type 4 Webpages
Case 2:23-cv-02000-WSS   Document 11-16   Filed 11/20/23   Page 2 of 10




       First Webpage Showing Sale of Infringing
                   Product Type 4
                                   Case 2:23-cv-02000-WSS                                                                                            Document 11-16                                                                  Filed 11/20/23                                   Page 3 of 10



     Skip to main content   Delivering to Albany 12201
                                                               All
                                                                                                                                                                                                                                                                                                                 Hello, sign in           Returns            0
                            Update location                                                                                                                                                                                                                                                          EN          Account & Lists          & Orders               Cart

         All    Holiday Deals     Medical Care           Best Sellers      Amazon Basics              Prime            Registry        New Releases           Today's Deals           Customer Service                Music     Whole Foods      Books     Fashion   Amazon Home          Pharmacy            Gift Cards               Join Prime today for deals

      Amazon Home               Shop by Room                            Discover                              Shop by Style                               Home Décor                                Furniture                           Kitchen & Dining                 Bed & Bath                              Garden & Outdoor                   Home Improvement




                                                                                                                                                                                                                                                                                                                                                            Sponsored
                                   Home & Kitchen › Storage & Organization         ›   Clothing & Closet Storage   ›   Clothes Hangers    ›   Standard Hangers


                                                                                                                                                                   HOME DEPUTY Purse Organizer for Closet - 6 Bag
                                                                                                                                                                   Hooks - Rose Gold - Purse Hangers for Closet with                                                                  Enjoy fast, FREE delivery,
                                                                                                                                                                                                                                                                                      exclusive deals and award-
                                                                                                                                                                   Unique Twisted Hook Design which Saves Space -                                                                     winning movies & TV shows
                                                                                                                                                                   Your Handbags Will Look Great in Your Closet                                                                       with Prime
                                                                                                                                                                   Visit the HOME DEPUTY Store                                                                                        Try Prime and start saving today
                                                                                                                                                                   4.8                 511 ratings                                                                                    with Fast, FREE Delivery

                                                                                                                                                                     Lowest price in 30 days

                                                                                                                                                                   -7% $ 12 50 $2.08 Count)  (           /
                                                                                                                                                                                                                                                                                      $
                                                                                                                                                                                                                                                                                          12    50 ( $2.08 / Count)

                                                                                                                                                                                                                                                                                      Get Fast, Free Shipping with
                                                                                                                                                                   Typical price: $13.50
                                                                                                                                                                                                                                                                                      Amazon Prime
                                                                                                                                                                   Get Fast, Free Shipping with Amazon Prime                                                                          FREE Returns
                                                                                                                                                                   FREE Returns
                                                                                                                                                                                                                                                                                      FREE delivery Monday,
                                                                                                                                                                           Best price                                                                                                 November 20 on orders shipped
                                                                                                                                                                                                                                                                                      by Amazon over $35
                                                                                                                                                                   Get a $60 gift card instantly: Pay $0.00 $12.50 upon approval for the Amazon Store Card.                           Or fastest delivery Thursday,
                                                                                                                                                                   Find out how                                                                                                       November 16 Order within 11
                                                                                                                                                                                                                                                                                                          .


                                                                                                                                                                                                                                                                                      hrs 23 mins

                                                                                                                                                                   Color: Rose Gold                                                                                                        Delivering to Albany 12201 -
                                                                            Roll over image to zoom in                                                                                                                                                                                     Update location

                                                                                                                                                                                                                                                                                      In Stock
                                                                                                                                                                                                                                                                                      Qty:
                                                                                                                                                                                                                                                                                       Qty: 1
                                                                                                                                                                       $12.50            $12.50                $12.50          $12.50
                                                                                                                                                      VIDEO         ($2.08 / Count)    ($2.08 / Count)       ($2.08 / Count)                                                                         Add to Cart



Infringing Product                                                                                                                                                 Color                                 Rose Gold
                                                                                                                                                                                                                                                                                      Ships from
                                                                                                                                                                                                                                                                                                        Buy Now

                                                                                                                                                                                                                                                                                                     Amazon

      Type 4
                                                                                                                                                                   Material                              Metal
                                                                                                                                                                                                                                                                                      Sold by        HOME DEPUTY
                                                                                                                                                                   Brand                                 HOME DEPUTY                                                                  Returns        Returnable until Jan 31,
                                                                                                                                                                   Item Dimensions                       1.77 x 1.77 x 3.94 inches                                                                   2024
                                                                                                                                                                   LxWxH                                                                                                              Payment        Secure transaction

                                                                                                                                                                   Mounting Type                         Desk Mount                                                                        Add a gift receipt for easy
                                                                                                                                                                                                                                                                                           returns
                                                                                                                                                                   About this item
                                                                                                                                                                     Purse Hooks for Closet: No more dusty floors or hard to reach places for your precious                               Add to List
                                                                                                                                                                     handbags and purses; Not only is this a space-efficient storage solution, by hanging
                                                                                                                                                                     your bags, it will help retain their shape
                                                                                                                                                                     Unique Design: We have taken the classic S hook and twisted it so that you can display
                                                                                                                                                                     your handbags and purses side by side at eye level allowing you to choose the perfect
                                                                                                                                                                     bag for every occasion without rummaging through boxes or under your bed
                                                                                                                                                                     Stylish and on-trend: Not only do these shiny classic rose gold closet hooks look
                                                                                                                                                                     gorgeous, they are also strong, will hold up to 10kg and fits all closet rods; H - 3.8
                                                                                                                                                                     inches, W - 1.8 inches, D - 1.5 inches
                                                                                                                                                                     It isn't just a purse organizer: These hooks are also the perfect organizer all your
                                                                                                                                                                     accessories such as Tote Bags, Backpacks, Belts, Ties, Jeans, Tops, Boots and Scarves
                                                                                                                                                                     Buy With Confidence: Our Purse Hanger will keep you organized for years to come; If
                                                                                                                                                                     you are not 100% satisfied, please contact us via Amazon messages and we will
                                                                                                                                                                     respond within 24 hours
                                                                                                                                                                                                                                                                                                                           Sponsored
                                                                                                                                                                   Customer ratings by feature
                                                                                                                                                                   Durability                                                            4.7
                                                                                                                                                                   Sturdiness                                                            4.7
                                                                                                                                                                   Value for money                                                       4.6
                                                                                                                                                                   See all reviews


                                                                                                                                                                   Consider a similar item
                                                                                                                                                                     Amazon's Choice

                                                                                                                                                                                       HOUSE DAY Black Magic Space Saving Hangers, Premium Smart Hanger
                                                                                                                                                                                       Hooks, Sturdy Cascading Hangers with 5 Holes for Heavy Clothes, Closet
                                                                                                                                                                                       Organizers and Storage, College Dorm Room Essentials 10 Pack
                                                                                                                                                                                                    (32112)
                                                                                                                                                                                       $9.99 ($1.00/Count)
                                                                                                                                                                                          Climate Pledge Friendly




                                                                                                                                                                     Sponsored



                                   Frequently bought together


                                                                                                                                                                                                             Total price: $54.46
                                                                               +                                                   +                                                                             Add all 3 to Cart



                                                                                                                                                                                                 These items are shipped from and sold by
                                                                                                                                                                                                 different sellers.
                                    This item: HOME DEPUTY Purse                       ZEDODIER Purse Hanger                             SONGMICS Velvet Hangers, Set of                         Show details
                                    Organizer for Closet - 6 Bag                       Organizer for Closet, 2 Pack                      50 Clothes Hanger with Rose Gold
                                    Hooks - Rose Gold - Purse                          Hanging Bag Holder, Keeping                       Swivel Hook, Non-Slip, and Space-
Case 2:23-cv-02000-WSS                                                                          Document 11-16                                        Filed 11/20/23                                    Page 4 of 10



$
    12 50 ($2.08/Count)                   $
                                              11 99 ($6.00/Count)                  $
                                                                                       29 97 ($0.60/Count)

4 stars and above                                                                                                                                                                                                                    Page 1 of 50
Sponsored




               ZEDODIER Purse Hanger            PODATOL Bra Organizer,         CINPIUK Purse Hanger          Myfolrena Purse Hangers        Purse Hanger Purse            Heavy Duty Plastic            Purse Hanger Organizer
               Organizer for Closet, 2          2 Pack Tank Top Hanger         for Closet - Rotating         Bag Hooks Closet- 12           Organizer for Closet,S        Hangers 50 Pack with          for Closet 2-Pack, Fitnice
               Pack Hanging Bag                 for Closet Swivel Hook         Handbag Hanging Hook          Pack Handbag Hanger            Hooks Twist Design Bag        Non-Slip Design,0.2           Metal Handbag Hangers
               Holder, Keeping Purs...          Foldable Desig...              Bag Storage Space S...        Organizer Metal S ...          Hanger,Closet Rod ...         Inches…                       Space Savin...
                            3,207                             564                            195                          227                            439                           980                             57
               $11.99     ($6.00/Count)           Limited time deal            $14.99                        $9.99                          $8.98    ($1.12/Count)        $29.99    ($59.98/Count)      $9.99    ($5.00/Count)

                                                $7.49     ($3.75/Count)
                                                                                                                                                                                                        Save 10% with coupon

                                                List: $14.99 (50% off)



More from frequently bought brands                                                                                                                                                                                                   Page 1 of 22
Sponsored




               AMKUFO Hangers-                  ZEDODIER Purse Hanger          ZEDODIER Purse Hanger         Ulimart 12 Pack Space-         Heavy Duty Plastic            ZEDODIER 2 Pack Tank          HOUSE DAY Space
               Space-Saving-12 Pack -           Organizer for Closet, 2        Organizer for Closet, 2       Saving-Hangers,Sturdy-         Hangers 50 Pack with          Top Hanger, Space             Saving Hangers Black,
               Closet-Organizers-and-           Pack Hanging Bag               Pack Rotatable Hanging        Hanger-Organizer-              Non-Slip Design,0.2           Saving Bra Hangers,           Smart Closet Organizer
               Storage for Dorm…                Holder, Keeping Purs...        Bag Holder, Ke...             Metal-Closet-Organizer...      Inches…                       Non-Slip Hanging…             Space Saver, Sturdy Pl...
                            78                               3,207                          213                            417                           980                           5,552                         32,106
               $11.99     ($1.00/Count)         $11.99      ($6.00/Count)      $12.99        ($6.50/Count)   $16.99     ($1.42/Count)       $29.99     ($59.98/Count)     $14.99    ($7.50/Count)       $19.99     ($1.25/Count)

                                                                                                                                                                                                           Climate Pledge Friendly



Product Description




                                              Working out the perfect storage solution for your purses has always been a conundrum…if you put them in a storage bin, they will lose shape; if you put
                                              them under the bed, they’ll be out of sight (and out of mind) and if you store them at the bottom of your closet, they will get dusty.
                                              We have the perfect solution - the Home Deputy Purse Hanging Hooks for your closet.
                                              The unique design of the twist on the classic S hook means you can hang your handbags side by side alongside your clothes providing the perfect space-
                                              saving storage solution.
Case 2:23-cv-02000-WSS                                                                  Document 11-16                                              Filed 11/20/23                                       Page 5 of 10




                                        UNIQUE DESIGN                                             STYLISH & ON TREND                                  MULTIPURPOSE
                                        We have taken the classic S hook and twisted it           Will make your closet look great by organising      The perfect organizer all your accessories such
                                        so that you can display your handbags and                 your purses side by side.                           as Tote Bags, Backpacks, Belts, Ties, Jeans,
                                        purses side by side at eye level                                                                              Tops, Boots, Scarves and Camis


                                        AVAILABLE IN 4 ON-TREND COLOURS




                                        SILVER                                   ROSE GOLD                                  GOLD                                   BLACK




                                                                                                  PURSE HANGING HOOKS
                                                                                                     6 Pack
                                                                                                     Comes in Silver, Rose Gold, Gold and Black
                                                                                                     Use for purses and handbags
                                                                                                     Fits all closet rods




                                     ABOUT HOME DEPUTY
                                     We’re a small, family business that believes that everyone should live in a home they love and that home improvement need not be a costly nor daunting
                                     exercise. Quality products should be cost effective and accessible to everyone! We design and develop unique products that give you the confidence to
                                     personalize your home on a budget.




Looking for specific info?




Videos                                                                                                                                                                                                                          Page 1 of 3

          Videos for related products




                                                 0:49                                                 0:30                                           0:39                                               0:43
                  Keeps Purses Organized,                  15 Pack Purse Hanger for Closet, for Better          Amber Home Rose Copper Gold Metal                     Are these purse hooks gonna               ZEDODIER Purse Hanger
                  Accessible + Protected! DEMO             Organized                                            Pants Skirt Hangers                                   keep your purse looking nice?             Closet Space Saving
                  ✅ Only the Best ✅                        zhangheting                                          Amber home                                            Colleen Cupp                              ZEDODIER




 Upload your video




Product information

   Product Dimensions                                       1.77 x 1.77 x 3.94 inches                                        Warranty & Support
   Item Weight                                              3.2 ounces                                                       Product Warranty: For warranty information about this product, please click here

   Department                                               womens                                                           Feedback
   Manufacturer                                             Home Deputy                                                      Would you like to tell us about a lower price?
   ASIN                                                     B08Q33TD6N

   Item model number                                        HBH-RG

   Customer Reviews                                         4.8                     511 ratings
                                                            4.8 out of 5 stars

   Best Sellers Rank                                        #95,598 in Home & Kitchen ( See Top 100 in Home
                                                            & Kitchen )
                                                            #199 in Standard Hangers

   Date First Available                                     July 10, 2021
Case 2:23-cv-02000-WSS                                                                                    Document 11-16                                                      Filed 11/20/23                                               Page 6 of 10



Compare with similar items




                                              This item HOME DEPUTY Purse                    12 Pack Purse Hanger for                     ZEDODIER 14 Pack Purse Hooks                     Purse Hanger Organizer for Closet               ZEDODIER Purse Hanger Organizer
                                              Organizer for Closet - 6 Bag Hooks             Closet,Unique Twist Design Bag               for Closet, Backpack Hanger Bag                  3 Pack - Durable Luxury Acrylic                 for Closet, 2 Pack Hanging Bag
                                              - Rose Gold - Purse Hangers for                Hanger Purse Hooks, Large Size               Holder, Closet Accessories                       Holder for Handbag Tote Bag                     Holder, Keeping Purses Visible and
                                              Closet with Unique Twisted Hook                Closet Rod Hooks for Hanging                 Organizer S Hook for Hanging                     Satchel Backpack Crossover -                    in Good Condition, Metal Handbag
                                              Design which Saves Space - Your                Necklace Bags, Purses, Handbags,             Purses, Handbags, Bags, Belts,                   Holds Up to 66Lbs – Easy to Clean,              Storage Hook Backpack Rack
                                              Handbags Will Look Great in Your               Belts, Scarves, Hats,Clothes, Pans           Scarves, Hats, Clothes, and Plant,               No Tools Required                               Space Saving Hanger, Rose Gold
                                              Closet                                         and Pots, Black                              Rose Gold

                                                  Add to Cart                                    Add to Cart                                  Add to Cart                                      Add to Cart                                      Add to Cart



  Customer Rating                                               (511)                                          (1307)                                       (100)                                            (449)                                            (3207)
  Price                                       $
                                                  12 50                                      $
                                                                                                 9 69                                     $
                                                                                                                                              7 99                                         $
                                                                                                                                                                                               29 99                                       $
                                                                                                                                                                                                                                               11 99
  Shipping                                    FREE Shipping on orders over                   FREE Shipping on orders over                 FREE Shipping on orders over                     FREE Shipping on orders over                    FREE Shipping on orders over
                                              $35.00 shipped by Amazon or get                $35.00 shipped by Amazon or get              $35.00 shipped by Amazon or get                  $35.00 shipped by Amazon or get                 $35.00 shipped by Amazon or get
                                              Fast, Free Shipping with Amazon                Fast, Free Shipping with Amazon              Fast, Free Shipping with Amazon                  Fast, Free Shipping with Amazon                 Fast, Free Shipping with Amazon
                                              Prime                                          Prime                                        Prime                                            Prime                                           Prime
  Sold By                                     HOME DEPUTY                                    LiteViso                                     ZEDODIER                                         kankoki                                         ZEDODIER
  Color                                       Rose Gold                                      Black                                        Rose Gold                                        Clear                                           Rose Gold
  Material                                    Metal                                          Rubber, Alloy Steel                          Metal                                            Acrylic                                         Metal



Inspiration from this brand

                      HOME DEPUTY                               + Follow
                      Visit the Store on Amazon




            Some handbags are too pretty to be                     �� Fly your flag proudly day AND                Maybe stuffing all my handbags into              Our customers are loving the Home                   Handbags - out of sight, out of                    Make your
            hidden away.                                           night ��                                        my closet and hoping for the best…               Deputy Solar Star lighting up their…                mind? They deserve to be on display!               compliant




Videos for this product




                                                                0:45
              Purse Hanger Hooks        - Organize    Purses and
              Handbags in style!
              HOME DEPUTY




Important information
    To report an issue with this product, click here               .




Related products with free delivery on eligible orders                                                                                                                                                                                                                      Page 1 of 58
Sponsored     |   Try Prime for unlimited fast, free shipping




                  Purse Hanger for Closet,                KWOKWEI Metal Clothes            Zebricolo, purse                   BCISIWOS Purse Hanger                 CoHoXXYY Acrylic Purse             Purse Hanger Purse                      Heavy Duty Plastic
                  Unique Twist Design Bag                 Hanger Connector                 organizer for closet, 2            for Closet, 10 Pack                   Hanger Closet Keep Your            Organizer for Closet,S                  Hangers 50 Pack with
                  Hanger Purse Hooks,                     Hooks, 50PCS Hanger              Pack, purse organizer,             Handbag Hanger                        Totes and Backpacks                Hooks Twist Design Bag                  Non-Slip Design,0.2
                  Large Size Clo...                       Extender Hooks,…                 Larger Pockets, pur...             Organizer Unique…                     Organized and in...                Hanger,Closet Rod ...                   Inches…
                                37                                    5                                  1,097                              30                                   31                                 439                                     980
                  $9.99     ($0.83/Count)                 $16.99                           $16.99       ($8.50/Count)         $6.99                                 $18.58     ($4.65/Count)           $8.98         ($1.12/Count)             $29.99     ($59.98/Count)


                                                                                                                                                                    Save 20% with coupon
Case 2:23-cv-02000-WSS                                                                          Document 11-16                                                         Filed 11/20/23                                Page 7 of 10




                                                                                                                                                                                                         Sponsored

Similar brands on Amazon                                                                                                                                                                                                                   Page 1 of 2
Sponsored


                  MIZGI                                                                         HOME DEPUTY                                                                 TIMMY
                  Shop the Store on Amazon   ›                                                  Shop the Store on Amazon      ›                                             Shop the Store on Amazon ›




                                    MIZGI Velvet Hangers (50 Pack) Heavy                                               HOME DEPUTY 6 Pack Purse Organizers                                    TIMMY Plastic Hangers, 50 Pack Ultra Thin
                                    Duty - Non Slip Felt Hangers - Blush Pink -                                        for Closet - 6 Bag Hooks - Silver - Purse                              Non Slip Clothes Hanger Space Saving
                                    Rose Gold 36024,745 Degree Swivel Hooks,Space                                      Hangers for Closet 511 with Unique Twisted                             Coat Hangers, 2,197 360°Rotating Rose Gold
                                    $Saving
                                      26 . 95 Clothes    Hangers,Durable Strong
                                                List: $32.99                                                           $Hook
                                                                                                                         12 . 50Design   which
                                                                                                                                   Typical:      Saves Space - Your
                                                                                                                                             $13.50                                           $Hook
                                                                                                                                                                                                36 . 99Hanger    Heavy Duty Pant Hangers
                                                                                                                                                                                                          List: $44.99
                                     Hangers    for Suits,Coats,Dress
                                      18% off Deal
                                                                                                                        Handbags Will Look Great in Your Closet                                (Grey)




                                                                          Reviews with images                                                                                     See all photos
Customer reviews
                  4.8 out of 5
511 global ratings

5 star                                       85%
4 star                                           8%
3 star                                           4%
2 star                                           1%
1 star                                           1%                       Read reviews that mention
   How customer reviews and ratings work                                     purse hooks             works great           looks great        hang bags            closet


                                                                             purses           hangers         hanging             space       rod         taking
By feature
Durability                                            4.7
                                                                            Top reviews
Sturdiness                                            4.7
Value for money                                       4.6                 Top reviews from the United States

                                                                                    Yanisell villa

Review this product                                                                     Good for small space
                                                                          Reviewed in the United States on October 24, 2023
Share your thoughts with other customers                                  Color: Rose Gold Verified Purchase
                                                                          For when you don't have space, it is a functional and wonderful idea.
             Write a customer review
                                                                                Helpful              Report


                                                                                    Frances

                                                                                        Excellent Purse Hooks!
                                                                          Reviewed in the United States on September 9, 2023
                                                                          Color: Silver Verified Purchase
                                                                          These purse hooks are very nice because they take up very little space in the closet. So you can hang a few
                                                                          purses without taking up alot of your closet space.
                                                                                Helpful              Report


                                                                                    HomeMaker

                                                                                        Well designed and good quality
                                                                          Reviewed in the United States on September 21, 2023
                                        Sponsored
                                                                          Color: Silver Verified Purchase
                                                                          Love it
                                                                                Helpful              Report


                                                                                    K Lee

                                                                                        Space saving sturdy purse hooks!
                                                                          Reviewed in the United States on July 2, 2023
                                                                          Color: Silver Verified Purchase
                                                                          These purse hooks are great, they hold your purses without taking up much space. The stainless steel
                                                                          hooks look sleek and well made. highly reccommend!
                                                                                                                   I



                                                                                Helpful              Report


                                                                                    Amazon Customer

                                                                                        Ok
                                                                          Reviewed in the United States on June 26, 2023
                                                                          Color: Silver Verified Purchase
                                                                          Not what expected
                                                                                        I



                                                                                Helpful              Report
Case 2:23-cv-02000-WSS                                                                   Document 11-16                                         Filed 11/20/23                                  Page 8 of 10



                                                                               HLKNYC

                                                                                 Perfect for vacation
                                                                  Reviewed in the United States on January 2, 2023
                                                                  Color: Silver Verified Purchase
                                                                  We go to Aruba on vacation where it can start pouring out of nowhere while you are away from your bags
                                                                  so we use these to hang the bags directly under the umbrella to keep them dry and off the floor. Worked
                                                                  perfectly. Also works to hang from back of beach chair.
                                                                      Helpful                  Report


                                                                               AmazonQueen

                                                                                Very Sturdy Hooks
                                                                  Reviewed in the United States on September 21, 2022
                                                                  Color: Black Verified Purchase
                                                                  These hooks are solid and can hold heavy items. Good design and can stack next to each other hanging, if
                                                                  empty. Only downside is, is the price for 6 it’s pretty expensive at $15.99
                                                                      Helpful                  Report


                                                                               AZ Guy

                                                                                 Great for organizing purses and belts.
                                                                  Reviewed in the United States on September 2, 2022
                                                                  Color: Black Verified Purchase
                                                                  Ilike the fact that can get my backpacks and convertible backpack/purses up off the floor and organized.
                                                                                           I


                                                                  Since only needed 4 of these hangers, my husband found a good use for the other two. His belts are now
                                                                           I


                                                                  hanging rather than taking up shelf space. thought the price was a bit high for these small hangers but
                                                                                                                 I


                                                                  they are a sturdy metal and do work well for us.




                                                                  One person found this helpful
                                                                      Helpful                  Report


                                                                  See more reviews



                                                                  Top reviews from other countries

                                                                               CC

                                                                                Really useful purse hooks
                                                                  Reviewed in Singapore on September 3, 2021
                                                                  Color: Rose Gold Verified Purchase
                                                                  Been looking for good hooks to hang up my bags for quite some time. This is the best solution yet.
                                                                  Report



                                                                  See more reviews




Products related to this item                                                                                                                                                                                             Page 1 of 58
Sponsored




            CoHoXXYY Acrylic Purse     Purse Hanger for Closet,       Purse Hanger Purse                Heavy Duty Plastic            Purse Hanger Organizer         SEEBRIDER Purse Hanger     CTOHN 20 Pack Purse
            Hanger Closet Keep Your    Unique Twist Design Bag        Organizer for Closet,S            Hangers 50 Pack with          for Closet 2-Pack, Fitnice     Closet, Purse Holder for   Hanger for Closet,
            Totes and Backpacks        Hanger Purse Hooks,            Hooks Twist Design Bag            Non-Slip Design,0.2           Metal Handbag Hangers          Closet Grey Backpack       Unique Twist Design Bag
            Organized and in...        Large Size Clo...              Hanger,Closet Rod ...             Inches…                       Space Savin...                 Hanger Hook fo...          Hanger Purse Hooks, ...
                         31                          37                            439                               980                             57              $16.99                                  17
            $18.58     ($4.65/Count)   $9.99   ($0.83/Count)          $8.98         ($1.12/Count)       $29.99       ($59.98/Count)   $9.99    ($5.00/Count)         Save 6% with coupon        $9.98   ($0.50/Count)


            Save 20% with coupon                                                                                                      Save 10% with coupon




                                                                                                                                                                   Sponsored
                                Case 2:23-cv-02000-WSS                                                                                    Document 11-16                                                         Filed 11/20/23                                                     Page 9 of 10



Best Sellers in Industrial & Scientific                                                                                                                                                                                                                                                                                                                Page 1 of 5




         MedPride Powder-Free                 iHealth COVID-19                         Cascade Platinum Plus                Pampers Sensitive Baby             Med PRIDE NitriPride                  SYLVANIA ECO LED Light             Gorilla Super Glue Gel                     iHealth COVID-19                  Med PRIDE Medical Vinyl
         Nitrile Exam Gloves,                 Antigen Rapid Test, 1                    ActionPacs Dishwasher                Wipes - Baby Wipes                 Nitrile-Vinyl Blend Exam              Bulb, A19 60W                      XL, 25 Gram, Clear, (Pack                  Antigen Rapid Test, 1             Examination Gloves
         Medium, Box/100                      Pack, 5 Tests Total, FDA                 Detergent Pods, Fresh,               Combo, 1008 Count,                 Gloves, Medium 100 -                  Equivalent, Efficient 9W,          of 1)                                      Pack, 2 Tests Total, FDA          (Large, 100-Count) Latex
                         86,073               EUA Authorized OTC at-                   62 Count                             Water Based,                       Powder Free, Latex Free               7 Year, 750 Lumens,                                     29,991                EUA Authorized OTC at-            Free Rubber     |

         Low returns                          Home Self Test,    19,056
                                                                      Results                          87,486               Hypoallergenic198,946
                                                                                                                                              and              & Rubber Free40,932   - Single                        41,995
                                                                                                                                                                                                     2700K, Non-Dimmable,                 #1 Best Seller in                        Home Self Test, Results                              86,679
                                                                                                                                                                                                                                                                                                                     Disposable, Ultra-Strong,
           #1 Best Seller in Industrial       in#115Best
                                                       Minutes
                                                          Seller with    Non-
                                                                   in Clinical           #1 Best Seller in                  Unscented    (Packaging
                                                                                                                             #1 Best Seller  in                Use    Non-Sterile
                                                                                                                                                                  Amazon's    Choice                 Frosted,  Soft White
                                                                                                                                                                                                      #1 Best Seller   in LED - 8       Cyanoacrylate Adhesives                    in 15 Minutes 207,146with Non-    Low
                                                                                                                                                                                                                                                                                                                     Clearreturns
                                                                                                                                                                                                                                                                                                                                Fluid, Blood,
                                                                                                                                                                                         in                                                                                                                                 |

         & Scientific                         invasive Nasal
                                              Diagnostic           Swab,
                                                            Test Kits                  Commercial Dishwasher                May Vary)Component
                                                                                                                            Electronic                         Protective
                                                                                                                                                               Medical    ExamGloves
                                                                                                                                                                                 Gloves for          Pack (40821)
                                                                                                                                                                                                     Bulbs                              $ 8 . 57 ($9.74/Ounce)                     $invasive
                                                                                                                                                                                                                                                                                     17 . 98 Nasal       Swab,
                                                                                                                                                                                                                                                                                                 ($8.99/Count)         8 . 99 Healthcare,
                                                                                                                                                                                                                                                                                                                     $Exam,      ($0.09/Count) Food
         $ 9 . 99 ($0.10/Count)               $Easy   to Use    & No                                                                                                                                                                                                                                                  Get  it as soon
                                                                                                                                                                                                                                                                                                                                    Useas Monday,
                                                44 . 95    ($8.99/Count)               Detergents                           Sensors                            $Medical
                                                                                                                                                                 9 . 99    Use,   Cooking,
                                                                                                                                                                          ($0.10/Count)
                                                                                                                                                                                                     $ 13 . 42 ($1.68/Count)            Get it as soon as Sunday,                   Easyit toas soon
                                                                                                                                                                                                                                                                                    Get         Use &as No
                                                                                                                                                                                                                                                                                                        Sunday,       Handling           | No
         Get it as soon as Sunday,             Discomfort
                                               Get it as soon as Sunday,               $ 17 . 59 ($0.28/Count)              $ 34 . 97 ($3.47/100 Count)         Cleaning     & More                  Get it as soon as Tuesday,         Nov 19                                      Discomfort
                                                                                                                                                                                                                                                                                    Nov 19                            Nov 20
                                                                                                                                                                                                                                                                                                                      Powder
                                                                                                                                                                Get it as soon   as Sunday,
         Nov 19                               Nov 19                                   Get it as soon as Wednesday,         Get it as soon as Sunday,                                                Nov 21                             FREE Shipping on orders over               FREE Shipping on orders over      FREE Shipping on orders over
                                                                                                                                                               Nov 19
         FREE Shipping on orders over         FREE Shipping by Amazon                  Nov 22                               Nov 19                                                                   FREE Shipping on orders over       $35 shipped by Amazon                      $35 shipped by Amazon             $35 shipped by Amazon
                                                                                                                                                               FREE Shipping on orders over
         $35 shipped by Amazon                                                         FREE Shipping on orders over         FREE Shipping on orders over                                             $35 shipped by Amazon
                                                                                                                                                               $35 shipped by Amazon
                                                                                       $35 shipped by Amazon                $35 shipped by Amazon


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         12 Pack Purse Hanger                 Purse Hanger Purse                       Fitnice 10 Pack Purse                BESARME 15 Pack Purse              Myfolrena Purse Hangers               GEZIDEA Purse Hanger S             CTOHN 20 Pack Purse                        MEILIDY S Hooks,                  Yzerel 12Pcs S Hooks
         for Closet,Unique Twist              Organizer for Closet,S                   Hanger for Closet, S                 Hanger for Closet,                 Bag Hooks Closet- 12                  Hooks Twisted S Hooks              Hanger for Closet,                         Reversible Black S                Hanging Safety Buckle -
         Design Bag Hanger Purse              Hooks Twist Design Bag                   Hooks for Hanging                    Unique Twist Design Bag            Pack Handbag Hanger                   Closet Rod Hooks for               Unique Twist Design Bag                    Shaped Hooks 3 Inch               3.5 inch Heavy Duty S
         Hooks, Large Size Closet             Hanger,Closet Rod                        Twisted Purse Hooks                  Hanger Hooks, Purse                Organizer Metal S                     Handbags,Bags,Clothes,P            Hanger Purse Hooks,                        Small Heavy Duty                  Hooks,Hanging Plants
         Rod Hooks for1,307      Hanging      Hooks for Hanging                        Heavy Duty S Hooks                   Organizer Hooks   314 for          Hooks, Large Size Closet              ures,Hats,10Pack                   Purse Organizer Hooks                      Stainless Steel S                 for Closet Hooks,
         Necklace
            Amazon's Bags,Choice Purses,
                                     in Tie                       439
                                              Handbags,Purses,Belts,S                  Handbag Hanger      184              Closet    Large
                                                                                                                               Amazon's       Closetin S
                                                                                                                                          Choice               Rod Hooks for229Hanging               (Large&90Deg)                      for Closet, S Hooks17       for            Hanging Hooks107 for Pots         Clothes, Kitchen   315 Utensil,
         Handbags, Belts,
         Racks                                $carves,Hats,Clothes,Pots
                                                8 . 98 ($1.12/Count)                   $Organizer       Space Saving
                                                                                         9 . 99 ($1.00/Count)               Hooks Hooks
                                                                                                                            Utility   for Hanging              $Handbags,Clothes,
                                                                                                                                                                 9 . 99                                             353                 $Hanging       Handbags
                                                                                                                                                                                                                                          9 . 98 ($0.50/Count)                     $Pans
                                                                                                                                                                                                                                                                                     9 . 99Cups Mugs Curtains        $Pots
                                                                                                                                                                                                                                                                                                                       6 . 12and($0.51/Fl
                                                                                                                                                                                                                                                                                                                                   Pans, Bags
                                                                                                                                                                                                                                                                                                                                           Oz)
         $Scarves,     Hats,Clothes,
           9 . 69 ($0.81/Count)                and itPans.
                                               Get    as soon(8 asPack  Black)
                                                                    Sunday,             Closet
                                                                                        Get  it as Rod
                                                                                                    soon Hooks   for
                                                                                                          as Monday,        $Handbags      Purses
                                                                                                                              9 . 99 ($0.67/Count)              Curtain,
                                                                                                                                                                Get         Plant,as Sunday,
                                                                                                                                                                     it as soon       Pans and                                           Purses
                                                                                                                                                                                                                                         Get  it as Clothes   Belts
                                                                                                                                                                                                                                                     soon as Sunday,                Pantsit asPlants
                                                                                                                                                                                                                                                                                    Get         soon asTools  - 12
                                                                                                                                                                                                                                                                                                         Sunday,      (Black)
                                                                                                                                                                                                                                                                                                                      Get it as soon as Sunday,
          Pansit asandsoonPots,
          Get                    Black
                             as Sunday,       Nov 19                                    Clothes,
                                                                                        Nov   20 Bags, Plants,               Clothes(Black)
                                                                                                                             Get it as soon as Sunday,          Pots
                                                                                                                                                                Nov 19                                                                   (Black)
                                                                                                                                                                                                                                         Nov 19                                     Pcs
                                                                                                                                                                                                                                                                                    Nov 19                           Nov 19
         Nov 19                               FREE Shipping on orders over              Pots Shipping
                                                                                        FREE    (Black) on orders over      Nov 19                             FREE Shipping on orders over                                             FREE Shipping on orders over               FREE Shipping on orders over      FREE Shipping on orders over
         FREE Shipping on orders over         $35 shipped by Amazon                    $35 shipped by Amazon                FREE Shipping on orders over       $35 shipped by Amazon                                                    $35 shipped by Amazon                      $35 shipped by Amazon             $35 shipped by Amazon
         $35 shipped by Amazon                                                                                              $35 shipped by Amazon




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                                                                                                                               Money




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                                                                                                                   wherever                                                                               Made Easy                                                   For
                                                                                                                   they                                                                                                                                               Your
                                                                                                                   spend their                                                                                                                                        Business
                                                                                                                   time

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                                                                                                                   Healthiest                                                                             Systems                                                     for Every
                                                                                                                   Grocery Store                                                                                                                                      Home
Case 2:23-cv-02000-WSS         Document 11-16                                                Filed 11/20/23   Page 10 of 10



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                   Crime       – right to your door                                   products
                   & Safety                                                           you can trust
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